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                         United States District Court
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 UNITED STATES OF AMERICA




                                               rn COD
 v.                                                           CRIMINAL ACTION NO. 3:24-CR-0250-S




                                               Orn CO? COrn
 KEITH J. GRAY (1)
                                           ORDER

       Before the Court is the Government’s Motion to Unseal Search Warrants, Applications,

and Affidavits (“Motion”) [ECF No. 19]. The Court has reviewed the Motion and finds that the

search warrants, applications, and affidavits in Case Nos. 3:22-MJ-887-BK and 3:22-MJ-888-BK

should be unsealed. The Court hereby GRANTS the Motion.

       Accordingly, it is ORDERED that the search warrants, applications, and affidavits in Case

Nos. 3:22-MJ-887-BK and 3:22-MJ-888-BK be UNSEALED.

       SO ORDERED.

       SIGNED August 29, 2024.                                  i        n.Qp—




                                                              KAREN GREN SCHOLER
                                                              UNITED STATES DISTRICT JUDGE
